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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                   Chapter 13
                                                                   Case No. 18-22045 RDD
 LISA M. CHANG,
                                                   Debtor
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                              ORDER DISMISSING CHAPTER 13 CASE


          The trustee having moved, on due notice, for an order dismissing this chapter 13 case;

and, upon the motion and the record of the May 23, 2018 hearing thereon, the Court having

found that the debtor has failed to comply with 11 U.S.C. § 1307(c)(1) and 11 U.S.C. § 521(i)

and (e)(2)(A)(i), having created unreasonable delay that is prejudicial to creditors, in that the

debtor failed to be examined at the scheduled § 341(a) meeting of creditors and failed to provide

the required documentation, in part, payment advices and evidence of other payments received

within 60 days of the bankruptcy petition date, and, seven days before to the § 341(a) meeting of

creditors, Federal and New York State tax returns for several years prior to petition date; and the

Court also having found that that the debtor’s proposed chapter 13 plan is not feasible and that

the debtor is unable to confirm a plan; and further, it appearing that the debtor is not eligible

pursuant to 11 U.S.C. §109(e) for chapter 13 relief; and good cause appearing,

          IT IS ORDERED THAT:

          This chapter 13 case is hereby dismissed. The chapter 13 trustee shall take all actions

required by the dismissal of this case.

Dated: White Plains, New York
       June 4, 2018                                                /s/ Robert D. Drain    _
                                                                   Hon. Robert D. Drain
                                                                   United States Bankruptcy Judge
